            Case 2:15-cv-00250-CW Document 29 Filed 03/17/16 Page 1 of 3




                        IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF UTAH


AARON DAVID TRENT NEEDHAM,                             ORDER

               Plaintiff,                              Case No. 2:15-CV-250 CW

       v.                                              District Judge Clark Waddoups

STATE OF UTAH et al.,

               Defendants.


       Plaintiff, Aaron David Trent Needham, moves the Court to allow him leave to amend his

Second Amended Complaint here. The Court grants the motion, giving the following guidance

for Plaintiff to follow in amending the Second Amended Complaint.

                               INSTRUCTIONS TO PLAINTIFF

       Under Rule 8 of the Federal Rules of Civil Procedure a complaint is required to contain

"(1) a short and plain statement of the grounds upon which the court's jurisdiction depends, . . .

(2) a short and plain statement of the claim showing that the pleader is entitled to relief, and (3) a

demand for judgment for the relief the pleader seeks." Fed. R. Civ. P. 8(a). The requirements of

Rule 8(a) are intended to guarantee "that defendants enjoy fair notice of what the claims against

them are and the grounds upon which they rest." TV Commnc'ns Network, Inc. v. ESPN, Inc.,

767 F. Supp. 1062, 1069 (D. Colo. 1991), aff’d, 964 F.2d 1022 (10th Cir. 1992).

       Pro se litigants are not excused from compliance with the minimal pleading requirements

of Rule 8. "This is so because a pro se plaintiff requires no special legal training to recount the

facts surrounding his alleged injury, and he must provide such facts if the court is to determine
          Case 2:15-cv-00250-CW Document 29 Filed 03/17/16 Page 2 of 3




whether he makes out a claim on which relief can be granted." Hall v. Bellmon, 935 F.2d 1106,

1009 (10th Cir. 1991). Moreover, "it is not the proper function of the Court to assume the role of

advocate for a pro se litigant." Id. at 1110. Thus, the Court cannot "supply additional facts, [or]

construct a legal theory for plaintiff that assumes facts that have not been pleaded." Dunn v.

White, 880 F.2d 1188, 1197 (10th Cir. 1989).

       Plaintiff should consider the following points before refiling his complaint. First, the

revised complaint must stand entirely on its own and shall not refer to, or incorporate by

reference, any portion of the original complaint or any other documents already filed in the case.

See Murray v. Archambo, 132 F.3d 609, 612 (10th Cir. 1998) (stating amended complaint

supercedes original). Second, the complaint must clearly state what each individual defendant

did to violate Plaintiff's civil rights. See Bennett v. Passic, 545 F.2d 1260, 1262-63 (10th Cir.

1976) (stating personal participation of each named defendant is essential allegation in civil

rights action). "To state a claim, a complaint must 'make clear exactly who is alleged to have

done what to whom.'" Stone v. Albert, No. 08-2222, slip op. at 4 (10th Cir. July 20, 2009)

(unpublished) (emphasis in original) (quoting Robbins v. Oklahoma, 519 F.3d 1242, 1250 (10th

Cir. 2008)). Third, Plaintiff cannot name an individual as a defendant based solely on his or her

supervisory position. See Mitchell v. Maynard, 80 F.3d 1433, 1441, (10th Cir. 1996) (stating

supervisory status alone is insufficient to support liability under § 1983). And, fourth, Plaintiff is

warned that litigants who have had three in forma pauperis cases dismissed as frivolous or

meritless will be restricted from filing future lawsuits without prepaying fees.



                                                  2
          Case 2:15-cv-00250-CW Document 29 Filed 03/17/16 Page 3 of 3




                                             ORDER

       IT IS HEREBY ORDERED that:

       (1) Plaintiff's motion to amend his Second Amended Complaint is GRANTED. (See

Docket Entry # 22.) Plaintiff shall file his third amended complaint within thirty days.

       (2) The Clerk's Office shall mail Plaintiff a copy of the Pro Se Litigant Guide with a

blank civil-rights complaint.

       (3) Plaintiff’s motion for service of process is DENIED. (See Docket Entry # 23.) There

is no valid complaint on file to serve, pending the Court's receipt of a third amended complaint.

Moreover, the Court will screen and order service of process on prisoner complaints without

prompting. So, no motions of this kind are ever needed.

       (4) Plaintiff's motion for transport is DENIED. (See Docket Entry # 6.) No hearings in

this case are foreseeable.

       (5) Plaintiff's motion to challenge the constitutionality of a statute is GRANTED. (See

Docket Entry # 25.) Any such challenge shall be included in the third amended complaint.

               DATED this 17th day of March, 2016.

                                             BY THE COURT:


                                             _____________________________
                                             JUDGE CLARK WADDOUPS
                                             United States District Court




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